Case 1:23-mc-00361-UNA Document 4 Filed 08/02/23 Page 1 of 26 PageID #: 17




                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF DELAWARE

PHARO GAIA FUND, LTD., and PHARO     )
MACRO FUND, LTD.                     )
                                     )
                    Plaintiffs,      )   No. 23 Misc. 360
                                     )
      v.                             )
                                     )
THE BOLIVARIAN REPUBLIC OF           )
VENEZUELA,                           )
                                     )
                    Defendant.       )


PHARO GAIA FUND, LTD., PHARO         )
MACRO FUND, LTD. and PHARO           )
TRADING FUND, LTD.,                  )
                                     )
                    Plaintiffs,      )   No. 23 Misc. 361
                                     )
      v.                             )
                                     )
THE BOLIVARIAN REPUBLIC OF           )
VENEZUELA,                           )
                                     )
                    Defendant.       )

     OPENING BRIEF IN SUPPORT OF PHARO’S MOTION FOR AN ORDER
         AUTHORIZING A WRIT OF ATTACHMENT FIERI FACIAS


                                     Stephen B. Brauerman (#4952)
                                     Sarah T. Andrade (#6157)
                                     BAYARD, P.A.
                                     600 N. King Street, Suite 400
                                     Wilmington, Delaware 19801
                                     (302) 655-5000
                                     SBrauerman@bayardlaw.com
                                     sandrade@bayardlaw.com

                                     Counsel for Plaintiffs
Dated: August 2, 2023
  Case 1:23-mc-00361-UNA Document 4 Filed 08/02/23 Page 2 of 26 PageID #: 18




                                                TABLE OF CONTENTS
                                                                                                                                         Page

TABLE OF AUTHORITIES ......................................................................................................... iii

INTRODUCTION .......................................................................................................................... 1

BACKGROUND ............................................................................................................................ 1

    I.    Pharo’s Lawsuits And Judgments ....................................................................................... 1

    II. This Court’s Prior Alter Ego Rulings ................................................................................. 2

          A.         Crystallex: Venezuela’s Control of PDVSA as of August 2018 ............................ 2

          B.         OIEG: Venezuela’s Control of PDVSA through March 2023................................ 3

    III. Venezuela’s Continued Control Of PDVSA Following OIEG........................................... 4

          A.         The National Assembly’s Continued Control of PDVSA Outside of
                     Venezuela ................................................................................................................ 4

                     1.         The National Assembly’s Significant Economic Control ........................... 5

                     2.         PDVSA’s Profits Outside of Venezuela Go to the National
                                Assembly..................................................................................................... 8

                     3.         The National Assembly Controls PDVSA’s Daily Affairs Outside
                                of Venezuela ............................................................................................... 9

                     4.         The National Assembly Is the Real Beneficiary of PDVSA’s
                                Conduct Outside of Venezuela ................................................................. 10

                     5.         The National Assembly Continues to Benefit in U.S. Courts While
                                Avoiding Its Obligations ........................................................................... 10

          B.         The Maduro Regime’s Continued Control of PDVSA in Venezuela ................... 11

                     1.         The Maduro Regime’s Significant Economic Control ............................. 11

                     2.         PDVSA’s Profits in Venezuela Go to the Maduro Regime ...................... 12

                     3.         The Maduro Regime Controls PDVSA’s Daily Affairs in
                                Venezuela .................................................................................................. 12

                     4.         The Maduro Regime Is the Beneficiary of PDVSA’s Conduct in
                                Venezuela .................................................................................................. 14



                                                                       i
  Case 1:23-mc-00361-UNA Document 4 Filed 08/02/23 Page 3 of 26 PageID #: 19




                      5.         The Maduro Regime Continues to Benefit in U.S. Courts While
                                 Avoiding Its Obligations ........................................................................... 15

ARGUMENT ................................................................................................................................ 15

    I.    The FSIA Permits Attachment Of PDVSA’s PDVH Shares ............................................ 15

          A.          There Is No Attachment Immunity ....................................................................... 15

                      1.         Venezuela Holds the PDVH Shares in the U.S. Through Its Alter
                                 Ego, PDVSA ............................................................................................. 15

                      2.         The PDVH Shares Are Being Used for a Commercial Activity ............... 17

                      3.         Venezuela Has Waived Attachment Immunity......................................... 17

                      4.         A Reasonable Amount of Time Has Passed Since Entry of Pharo’s
                                 Judgments ................................................................................................. 18

          B.          There Is No Jurisdictional Immunity .................................................................... 18

    II. Delaware Law Permits Attachment Of PDVSA’s PDVH Shares .................................... 19

    III. The Court Should Issue A Writ And Name Plaintiffs Additional Judgment
         Creditors ............................................................................................................................ 20

CONCLUSION ............................................................................................................................. 20




                                                                       ii
  Case 1:23-mc-00361-UNA Document 4 Filed 08/02/23 Page 4 of 26 PageID #: 20




                                             TABLE OF AUTHORITIES

                                                                                                                         Page(s)

Cases

Crystallex Int’l Corp. v. Petróleos De Venezuela, S.A.,
   251 F. Supp. 3d 758 (D. Del. 2017) .........................................................................................19

Crystallex Int’l Corp. v. Venezuela,
   333 F. Supp. 3d 380 (D. Del. 2018) ................................................................................. passim

Crystallex Int’l Corp. v. Venezuela,
   932 F.3d 126 (3d Cir. 2019)............................................................................................. passim

Crystallex Int’l Corp. v. Venezuela,
   No. 16-CV-661, 2017 WL 6349729 (D.D.C. June 9, 2017) ....................................................18

Crystallex Int’l Corp. v. Venezuela,
   No. 17 Misc. 151, 2021 WL 129803 (D. Del. Jan. 14, 2021) ......................................16, 19, 20

United States ex rel. Doe v. Heart Sol.,
   PC, 923 F.3d 308 (3d Cir. 2019)..............................................................................................16

Elliott Assocs., L.P. v. Banco De La Nacion,
    No. 96-cv-7916-RWS, 2000 WL 1449862 (S.D.N.Y. Sept. 29, 2000) ...................................18

Gadsby & Hannah v. Socialist Republic of Romania,
   698 F. Supp 483 (S.D.N.Y 1988). ...........................................................................................18

Karaha Bodas Co. v. Perusahaan Pertambangan Minyak Dan Gas Bumi Negara,
   No. 01-cv-0634, 2002 WL 32107929 (S.D. Tex. Jan. 25, 2002).............................................18

Meadows v. Dominican Republic,
  817 F.2d 517 (9th Cir. 1987) ...................................................................................................19

Ned Chartering & Trading, Inc. v. Rep. of Pakistan,
   130 F. Supp. 2d 64 (D.D.C. 2001) ...........................................................................................18

O’Leary v. Telecom Res. Serv., LLC,
   2011 WL 379300 (Del. Ch. 2011) ...........................................................................................20

OI Eur. Grp. B.V. v. Venezuela,
   No. 19 Misc. 290, 2023 WL 2609248 (D. Del. Mar. 23, 2023) ...................................... passim

OI Eur. Grp. B.V. v. Venezuela,
   No. 23-1647, 2023 WL 4385930 (3d Cir. July 7, 2023).................................................. passim




                                                                iii
  Case 1:23-mc-00361-UNA Document 4 Filed 08/02/23 Page 5 of 26 PageID #: 21




Republic of Argentina v. Weltover, Inc.,
   504 U.S. 607 (1992) .................................................................................................................17

Richmark Corp. v. Timber Falling Consultants, Inc.,
   No. CIV. 88-1203-FR, 1990 WL 84598 (D. Or. May 31, 1990) .............................................18

Rubin v. Islamic Republic of Iran,
   138 S. Ct. 816 (2018) ...............................................................................................................16

Statutes & Rules

8 Del. C. § 169 ...............................................................................................................................19

8 Del. C. § 324(a) ...........................................................................................................................19

10 Del. C. § 5031 ...........................................................................................................................19

28 U.S.C. §§ 1604, 1610 ................................................................................................................15

28 U.S.C. § 1605(a)(1) ...................................................................................................................18

28 U.S.C. § 1608(e) .........................................................................................................................2

28 U.S.C. § 1610(a), (a)(1), (c) ......................................................................................................15

28 U.S.C. § 1610(c) .......................................................................................................................18

28 U.S.C. §1610(c), (2) ..................................................................................................................20

Fed. R. Civ. P. 69(a)(1) ..................................................................................................................19




                                                                       iv
    Case 1:23-mc-00361-UNA Document 4 Filed 08/02/23 Page 6 of 26 PageID #: 22




        Pharo Gaia Fund, Ltd., Pharo Macro Fund, Ltd., and Pharo Trading Fund, Ltd. (together,

“Pharo”) respectfully submit this brief in support of their Motion for an Order Authorizing a Writ

of Attachment Fieri Facias against shares of PDV Holding, Inc. (“PDVH”) owned by Intervenor

Petróleos de Venezuela, S.A. (“PDVSA”), alter ego of Defendant Bolivarian Republic of

Venezuela (“Venezuela” or “the Republic,” and together with PDVSA, the “Venezuela Parties”).1

                                        INTRODUCTION

        This Court has held, and the Third Circuit has affirmed, that PDVSA was Venezuela’s alter

ego through March 23, 2023. Venezuela and PDVSA are estopped from relitigating those findings

and have conceded in another case that these decisions preclude them from contesting their current

alter ego status. The evidence compels that conclusion in any event: The facts that led to the

previous alter ego findings have not changed, and additional facts make clear that PDVSA

continues to be Venezuela’s alter ego. This Court should authorize the issuance and service of a

writ of attachment fieri facias against the PDVH shares.

                                        BACKGROUND

I.      PHARO’S LAWSUITS AND JUDGMENTS

        Pharo is the beneficial owner of certain bonds issued by Venezuela (the “Bonds”) under

three fiscal agency agreements. Pharo Gaia Fund, Ltd., et al. v. Venezuela, No. 20-cv-8497

(S.D.N.Y.) (“8497 Action”), D.I. 62; Pharo Gaia Fund, Ltd., et al. v. Venezuela, No. 19-cv-3123

(S.D.N.Y.) (“3123 Action”), D.I. 34. In 2017, Venezuela defaulted on the Bonds. PDVSA


1
  Pursuant to Local Rule 69.1, Pharo is submitting a proposed writ of attachment fieri facias and a
praecipe with this motion. (See Declaration of Stephen Brauerman in Support of Pharo’s Motion
for a Writ of Attachment Fieri Facias, Exs. 1 & 2.) This action is substantially similar and contains
many of the same relevant facts as those at issue in Contrarian Capital Management, L.L.C., et al.
v. Venezuela, Nos. 21 Misc. 18, 22 Misc. 131 & 22 Misc. 263 (LPS) (D. Del.) (the “Contrarian
Action”). Pharo relies on many arguments set forth in the Opening Brief in Support of Contrarian’s
Renewed Motion for an Order Authorizing a Writ of Attachment Fieri Facias, which was filed on
July 21, 2023 in the Contrarian Action, D.I. 47.


                                                 1
 Case 1:23-mc-00361-UNA Document 4 Filed 08/02/23 Page 7 of 26 PageID #: 23




defaulted on its unsecured foreign debt then, too. Venezuela and PDVSA remain in default today.

       In January 2019, Pharo sued Venezuela in New York state court to recover missed

payments on two series of the Bonds. (See 3123 Action, D.I. 1.) Venezuela later removed to

federal court. (See id., D.I. 1.) On October 16, 2020, the court entered final judgment against

Venezuela, ordering Venezuela to pay over $380 million to Pharo. (Id., D.I. 62.). Pharo separately

sued Venezuela in federal court to recover missed payments on additional series of the Bonds.

(8497 Action, D.I. 1.) Despite proper service, Venezuela failed to appear. On October 25, 2021,

the New York Court entered a final default judgment, ordering Venezuela to pay over $1.3 billion

to Pharo. (Id., D.I. 34.) On May 18, 2023, Pharo served the default judgment on Venezuela, as

required under the Foreign Sovereign Immunities Act (FSIA). (Id., D.I. 35); 28 U.S.C. § 1608(e).

       Pharo has registered these judgments with this Court. (No. 23 Misc. 360, D.I. 1; (No. 23

Misc. 361, D.I. 1; Brauerman Exs. 3, 4.) Venezuela has not paid any part of the judgments,

(Brauerman Decl. ¶ 11), and there is no reason to believe that it will.

II.    THIS COURT’S PRIOR ALTER EGO RULINGS

       This Court already found – in two different rulings, each affirmed by the Third Circuit –

that PDVSA was Venezuela’s alter ego through March 2023.

       A.      Crystallex: Venezuela’s Control of PDVSA as of August 2018

       In its Crystallex decision, this Court correctly held that PDVSA was the alter ego of

Venezuela as of August 2018 under the regime of President Nicolás Maduro. See Crystallex Int’l

Corp. v. Venezuela, 333 F. Supp. 3d 380, 386 (D. Del. 2018) (“Crystallex I”). Considering

evidence dating back to 2002, this Court found that Venezuela extensively controlled PDVSA and

that PDVSA disregarded its separate legal status. Id. at 406–11; see also Brauerman Ex. 100, Ex.

3; Brauerman Ex. 102, Exs. 35, 38, 40; Brauerman Ex. 103, Exs. 54–57, 67–69, 72–74; Brauerman

Ex. 104 ¶ 3–5. PDVSA also acknowledged in its bond offerings that Venezuela had the authority


                                                 2
    Case 1:23-mc-00361-UNA Document 4 Filed 08/02/23 Page 8 of 26 PageID #: 24




to “intervene in [PDVSA’s] commercial affairs” and impose “material commitments” on PDVSA.

Id. The Third Circuit affirmed, holding the alter ego test was “easily satisfied.” Crystallex Int’l

Corp. v. Venezuela, 932 F.3d 126, 146 (3d Cir. 2019) (“Crystallex II”).

        B.     OIEG: Venezuela’s Control of PDVSA through March 2023

        In August 2018, at the time Crystallex I was decided, Maduro was both de jure and de facto

President of Venezuela. See OI Eur. Grp. B.V. v. Venezuela, No. 19 Misc. 290, 2023 WL 2609248,

at *8 (¶ 63) (D. Del. Mar. 23, 2023) (“OIEG I”). In January 2019, Venezuela’s opposition-led

National Assembly rejected Maduro’s claim for a second presidential term and named Juan Guaidó

interim president of Venezuela.2 Id. (¶¶ 65-67). The United States recognized Guaidó as interim

president. Id. (¶¶ 68-69). On February 6, 2019, the National Assembly enacted the 2019

Transition Statute, which identified Guaidó as President of Venezuela and authorized him to

appoint an ad hoc Board of PDVSA to exercise PDVSA’s rights as shareholder of PDVH (subject

to National Assembly approval). (See Brauerman Ex. 7, Art. 34.)

        Following Crystallex I, additional creditors – including OI European Group B.V., or

“OIEG” – moved to attach PDVSA’s shares in PDVH to satisfy judgments against Venezuela

based on its alter ego relationship with PDVSA. OIEG I, at *1. Ruling in favor of the additional

creditors, this Court correctly held that PDVSA remained Venezuela’s alter ego following

recognition of the Guaidó Government, “both in the U.S. and in Venezuela.” Id. at *2, *21, *24,

*27. With respect to the Guaidó Government and the National Assembly, the Court found the

2019 Transition Statute legislated Venezuela’s control over PDVSA by empowering Guaidó to

appoint an ad hoc Board that exercised PDVSA’s rights as a shareholder of PDVH; that the



2
 This brief refers to the legislative branch associated with the interim government as the “National
Assembly,” and the legislative branch associated with the Maduro Regime as the “National
Constituent Assembly.”


                                                 3
 Case 1:23-mc-00361-UNA Document 4 Filed 08/02/23 Page 9 of 26 PageID #: 25




National Assembly’s power to require preapproval of PDVSA contracts gave it control over the

daily affairs of PDVSA; and that the National Assembly, through Guaidó, treated Venezuela and

PDVSA’s debts as equivalent for purposes of debt renegotiation, had direct access to PDVSA’s

funds, and considered PDVSA’s assets as assets of Venezuela. Id. at *22-23; see also Brauerman

Exs. 90–91, 93–97; Brauerman Ex. 109, Ex. 1 ¶¶ 36, 50; Brauerman Ex. 114, Ex. 2, Exs. A, B, H;

Brauerman Ex. 107, Exs. 61–63. With respect to the Maduro Regime, the Court found the Regime

exercised extensive control over PDVSA by dictating its oil prices in Venezuela and abroad; that

Maduro managed PDVSA’s daily affairs by appointing military personnel and government

officials as PDVSA’s board members and officers; and that the real beneficiary of PDVSA’s

conduct was Venezuela, as demonstrated by its use of PDVSA’s property in furtherance of its

policies. OIEG I, at *25; see also Brauerman Exs. 74–76, 78, 80–82, 84, 86–88. Further, the

Court found that, considering either Guaidó or Maduro, allowing PDVSA to adhere to a separate

identity would allow Venezuela to “derive[ ] significant benefits from the U.S. judicial system”

while avoiding its obligations. Id. at *22, *26.

       The Third Circuit affirmed. OI Eur. Grp. B.V. v. Venezuela, No. 23-1647, 2023 WL

4385930 (3d Cir. July 7, 2023) (“OIEG II”).

III.   VENEZUELA’S CONTINUED CONTROL OF PDVSA FOLLOWING OIEG

       A.      The National Assembly’s Continued Control of PDVSA Outside of Venezuela

       Venezuela and PDVSA have conceded that OIEG controls the alter ego issue in other

pending creditor actions seeking to attach the PDVH shares, subject to any appellate review.

(Tidewater Investment SRL, et al., v. Venezuela, C.A. No. 19-mc-00079-LPS (D. Del.) (“Tidewater

Action”), D.I. 55; Valores Mundiales, et al. v. Venezuela, C.A. No. 23-mc-00298-LPS (D. Del.),

D.I. 17). And rightly so, as little has changed.

       On January 4, 2023 – more than two months before this Court’s decision in OIEG I – the


                                                   4
    Case 1:23-mc-00361-UNA Document 4 Filed 08/02/23 Page 10 of 26 PageID #: 26




National Assembly enacted the 2023 Transition Statute. (Brauerman Ex. 10 (the “2023 Transition

Statute”) at 1.) It eliminated the position of interim president and removed Guaidó from power.

Id. However, the statute did not change PDVSA’s relationship with Venezuela – it simply

transferred powers previously held by the interim president to the National Assembly. See

Brauerman Ex. 5 ¶¶ 27–28.) The statute preserves the operative language from the 2019 Transition

Statute authorizing Venezuela’s continued domination of PDVSA. (Id. ¶¶ 23-26.) And the statute

created an Asset Protection Council to better leverage Venezuela’s foreign assets – including

PDVSA – to reestablish democracy in Venezuela. (Id. ¶ 24.) The National Assembly has

preserved or expanded its powers over PDVSA. Thus, PDVSA remains Venezuela’s alter ego.3

                1.      The National Assembly’s Significant Economic Control

         In the United States and outside of Venezuela, the National Assembly continues to exercise

significant economic control over PDVSA through Venezuela’s Constitution, the 2023 Transition

Statute, the Asset Protection Council, the PDVSA ad hoc Board, and commingling of funds.

                        a.     The Constitution and Laws of Venezuela Continue to Enable the
                               National Assembly’s Economic Control

         Venezuela’s Constitution has not changed since the Third Circuit held that it “endows the

State with significant control over PDVSA.” Crystallex II, 932 F.3d at 147; see also OIEG I, at

*22; (Brauerman Ex. 12 at 4; Ex. 13 at 1 (PDVSA discovery responses).) The Constitution still

gives the National Assembly veto power over PDVSA contracts which implicate the “national

interest” – a power PDVSA has twice acknowledged includes all contracts with foreign parties.

(Brauerman Ex. 15, Arts. 150, 187.9; Ex. 16 at 30 n.84 (PDVSA summary judgment brief); Ex.

17 at 85:21-86:7 (Apr. 30, 2021 OIEG I Hr’g Tr.).) The National Assembly invoked this power


3
  Nor did the 2023 Transition Statute inaugurate a new legal regime – the United States “continues
to recognize” the National Assembly as the government of Venezuela. (Brauerman Ex. 11 at 1
(Jan. 3., 2023 U.S. State Department press statement).)


                                                 5
Case 1:23-mc-00361-UNA Document 4 Filed 08/02/23 Page 11 of 26 PageID #: 27




when it declared PDVSA’s bonds void and illegal. OIEG I, at *10 (¶ 86).

                      b.      The National Assembly’s Oversight of PDVSA’s Finances

       The National Assembly exercises economic control directly over PDVSA’s operations and

assets. For example, PDVSA continues to follow the National Assembly’s debt-negotiation

strategy and instruction not to pay PDVSA’s debts. OIEG I, at *13 (¶¶ 108, 112) (citing

Brauerman Ex. 19 at 12; Ex. 20 at 3-4). And in May of this year, the National Assembly directed

the PDVSA ad hoc Board to resolve PDVSA’s debt without losing control of CITGO. (Brauerman

Ex. 18.) The National Assembly recently began requiring regular “management reports” from

PDVSA detailing its activities. (Brauerman Ex. 21.) Earlier this year, it summoned the chair of

the PDVSA ad hoc Board to appear and justify PDVSA’s litigation expenses and decision to pay

certain bonds. Id. And it announced in February that it will demand the same management reports

and testimony from CITGO which it demanded from PDVSA. (Brauerman Exs. 21, 24, 25.)

                      c.      The National Assembly’s Authority under the 2023 Transition
                              Statute

       The National Assembly also exercises economic control over PDVSA through the 2023

Transition Statute. That statute does not give PDVSA independence – in fact, on the same day the

statute was enacted, PDVSA loaned Venezuela over $500,000 with no repayment date.

(Brauerman Ex. 9 at 2-3 (PDVSA amended interrogatory responses).) The 2023 Transition Statute

maintains the same provisions from the 2019 Transition Statute that enable the National Assembly

to dominate PDVSA. (Brauerman Ex. 5 ¶¶ 23, 25.) In service of that goal, the 2023 Transition

Statute created the Asset Protection Council, which has “authority” over “all foreign property or

assets” of Venezuela and the power to “participat[e] in the management” of those assets, including

PDVSA and its subsidiaries, “when it deems convenient.” 2023 Transition Statute §§ 9, 13. The

National Assembly appoints all five members of the Asset Protection Council, which appoints the



                                                6
Case 1:23-mc-00361-UNA Document 4 Filed 08/02/23 Page 12 of 26 PageID #: 28




PDVSA ad hoc Board (subject to National Assembly approval). Id.

       Through the 2023 Transition Statute, the National Assembly also continues to “bypass[ ]

PDVSA’s ordinary corporate governance” by exercising control over PDVSA’s subsidiary,

PDVH. OIEG I, at *11 (¶ 96). Using the same statutory language used in the 2019 Transition

Statute, the 2023 Transition Statute:

       • Overrides Venezuelan law governing PDVSA’s authority over PDVH;

       • Prohibits PDVH from making any “payment[ ] or equity contribution[ ]” to PDVSA;

       • Prohibits the sale, encumbrance, or disposition of PDVSA’s assets, including PDVH;

       • Subjects PDVH to National Assembly “monitoring and accountability controls”; and

       • Prohibits PDVH from having any “relationship whatsoever” with the Maduro Regime.

2023 Transition Statute §§ 13, 14; (see also Brauerman Ex. 5 ¶¶ 23, 25.)

       “[E]very act” the Asset Protection Council performs must “prioritize” the National

Assembly’s political goals. 2023 Transition Statute § 2. The Council itself is comprised of

Venezuelan opposition figures, and its coordinator, Gustavo Marcano, is one of the original

defectors from the Maduro Regime and Guaidó’s Minister Counselor of the Venezuelan Embassy

in the United States. (See Brauerman Exs. 26, 27, 28.) The council is no less politically motivated

than Guaidó and has preserved all of Guaidó’s appointments to the PDVSA ad hoc Board. (See

Brauerman Ex. 29 (presidential dispatch); Exs. 8, 9 (PDVSA interrogatory responses).) Moreover,

the Council operates at the behest of the National Assembly – any change it makes to the

membership of PDVSA’s ad hoc Board, and even its hiring of auditing firms, is subject to National

Assembly approval. 2023 Transition Statute §§ 8.7, 13. And to further the National Assembly’s

goal of keeping PDVSA’s assets out of Maduro’s hands, the 2023 Transition Statute prohibits the

Asset Protection Council from selling, encumbering, or disposing of PDVSA’s assets. Id. § 14.



                                                7
Case 1:23-mc-00361-UNA Document 4 Filed 08/02/23 Page 13 of 26 PageID #: 29




       The PDVSA ad hoc Board is an extension of the National Assembly, too. It has, “since its

inception,” worked to aid in Venezuela’s recovery, and it acknowledges that it “operates at the

‘directives’” of the National Assembly, OIEG I, at *11 (¶ 98); (Brauerman Ex. 19 at 72 (PDVSA

presentation).) The PDVSA ad hoc Board describes PDVSA as “‘attached to’” and “controlled

by” Venezuela’s Ministry of Petroleum and Mining and as “part of the National Public

Administration of the Venezuelan Republic.” (Brauerman Ex. 16 at 30 n.84.) The ad hoc Board

is still composed of Guaidó appointees, and the chairman of the ad hoc Board recently signaled

endorsement of a proposal to use CITGO oil to pay Venezuela’s debts. (Brauerman Exs. 31, 32.)

                      d.     The National Assembly’s Commingling of Funds with PDVSA

       The National Assembly and PDVSA continue to commingle funds.               The National

Assembly pays PDVSA’s operational costs, including “personnel expenses” and costs relating to

“materials and supplies.” (Brauerman Ex. 33 at 5-7.) It may use PDVSA funds to pay for its own

“ordinary expenses” and “the defense of [Venezuela’s] foreign assets.” 2023 Transition Statute §

14 ¶ 2. And PDVSA has paid more than $1 million of Venezuela’s litigation expenses in the last

eight months through “loans” without a repayment schedule. (Brauerman Ex. 9 at 2-3 (PDVSA

interrogatory responses).) The PDVSA ad hoc Board is also “consider[ing]” a plan to pay

Venezuela’s debts using its subsidiary’s oil. (Brauerman Ex. 32 (June 2023 interview).) Further,

the Liberation Fund Law, enacted in 2023, authorizes the use of PDVSA’s funds to effectuate “the

liberation of Venezuela.”   (Brauerman Ex. 34 (2023 Liberation Fund Law) §§ 1-3); 2023

Transition Statute §§ 1, 14. The Liberation Fund Law refers to PDVSA and Venezuela funds alike

as “resources of the Bolivarian Republic of Venezuela.” (Brauerman Ex. 34 (2023 Liberation

Fund Law) § 2; see OIEG I, at *10-11 (¶¶ 87, 90-91).)

              2.      PDVSA’s Profits Outside of Venezuela Go to the National Assembly

       Nothing has changed with respect to PDVSA’s foreign profits. They still flow to the


                                               8
Case 1:23-mc-00361-UNA Document 4 Filed 08/02/23 Page 14 of 26 PageID #: 30




National Assembly. OIEG I, at *11 (¶ 93); Crystallex II, 932 F.3d at 148; OIEG II, at *10. The

National Assembly continues to refer to PDVSA’s assets as “assets held by the Republic,” “state

owned assets,” and “belonging to all Venezuelans,” including in the 2023 Transition Statute. See

2023 Transition Statute pmbl. & §§ 2, 5, 8, 9, 13, 14; (Brauerman Ex. 21.)

               3.     The National Assembly Controls PDVSA’s Daily Affairs Outside of
                      Venezuela

       Venezuela continues to exercise extensive control over PDVSA’s daily activities outside

of Venezuela. While the 2023 Transition Statute replaced Guaidó with the Asset Protection

Council as the entity with power over PDVSA, it did not alter any of those powers, and in fact

used the same language to enshrine them. (See supra at 8-9.) The National Assembly has

exhibited even greater control over the daily affairs of PDVSA and its subsidiaries than before the

2023 Transition Statute took effect by demanding management reports and explanations of

PDVSA’s business decisions. (See supra at 9.) And the National Assembly continues to control

the PDVSA ad hoc Board by controlling its membership, directing when it can make payments on

debt, retaining veto power over national interest contracts, prohibiting the disposition of PDVSA’s

assets, and receiving “loans” from PDVSA. (See supra at 5-8.)

       Indeed, the National Assembly’s control is so granular that it funds PDVSA’s operations,

including “personnel” and “materials and supplies.” (Brauerman Ex. 33 at 5.) It recently

instructed PDVSA to organize its debt-litigation strategy in a manner that maintains control of

CITGO. (See Brauerman Ex. 18 (May 5, 2023 National Assembly press release).) And it

continues to exercise control over the daily affairs of PDVSA’s subsidiaries, including CITGO.

The prohibition upon PDVH and its subsidiaries from having any relationship with the Maduro

Regime is a significant limitation for an oil company, given that Venezuela has the world’s largest

proven oil reserve. The prohibition upon equity contributions to PDVSA infringes PDVSA’s



                                                9
Case 1:23-mc-00361-UNA Document 4 Filed 08/02/23 Page 15 of 26 PageID #: 31




shareholder rights, and PDVSA has admitted that it, PDVH, CITGO Holdings, and CITGO

Petroleum have not made any dividend payments since at least October 2022. (Brauerman Ex. 8

at 8 (PDVSA interrogatory response).) And as part of its “monitoring and accountability controls,”

the National Assembly plans to demand management reports from CITGO, PDVH’s subsidiary.

2023 Transition Statute § 13; (see supra at 6.)

               4.      The National Assembly Is the Real Beneficiary of PDVSA’s Conduct
                       Outside of Venezuela

       The National Assembly has used PDVSA as a political tool for years, and it continues to

benefit from PDVSA’s conduct by requiring PDVSA to prioritize Venezuela’s political objectives.

(See Brauerman Ex. 5 ¶¶ 19–23.) The 2023 Transition Statute requires that PDVSA and its

subsidiaries are to be governed with the goal of facilitating “the democratic transition in the

Bolivarian Republic of Venezuela.” 2023 Transition Statute § 1. The PDVSA ad hoc Board’s

“‘main objective’” is to establish democratic government in Venezuela. OIEG I, at *12 (¶ 105)

(quoting Louis Pacheco, former Chairman of PDVSA ad hoc Board). The National Assembly

website still provides updates on PDVSA and its subsidiaries, referring to them as assets of the

Republic. (See, e.g., Brauerman Ex. 18; see OIEG I, at *13 (¶ 113).) And the National Assembly

continues to instruct PDVSA to organize its litigation strategy in a manner that benefits Venezuela.

(Brauerman Ex. 18 (May 5, 2023 National Assembly press release).)

               5.      The National Assembly Continues to Benefit in U.S. Courts While
                       Avoiding Its Obligations

       For the same reasons this Court explained in OIEG I, treating Venezuela and PDVSA

separately would entitle Venezuela to the benefit of immunity from attachment of its assets in the

United States while allowing it to avoid debts it acknowledges are owed. OIEG I, at *14 (¶¶

120-21). As both this Court and the Third Circuit observed, Venezuela benefits from the U.S.

judicial system because certain of its bonds are backed by the stock and assets of U.S.-based


                                                  10
Case 1:23-mc-00361-UNA Document 4 Filed 08/02/23 Page 16 of 26 PageID #: 32




corporations, and thus investors may rely on the assurance that the U.S. legal system will provide

a backstop in case of default. Id. (¶ 121) (quoting Crystallex II, 932 F.3d at 149).

       B.      The Maduro Regime’s Continued Control of PDVSA in Venezuela

       The Maduro Regime continues to exercise the same control over PDVSA that supported

this Court’s March 23, 2023 decision in OIEG I.

               1.      The Maduro Regime’s Significant Economic Control

       The Maduro Regime’s economic control over PDVSA is guaranteed under Venezuelan law

and demonstrated by the regime’s substantial oversight of PDVSA’s business decisions.

                       a.     The Constitution and Laws of Venezuela Continue to Enable the
                              Maduro Regime’s Economic Control

       Venezuela’s laws guarantee the Maduro Regime economic control over PDVSA within

Venezuela. Articles 12, 302, and 303 of the Venezuelan Constitution ensure the Republic’s control

over its hydrogen deposits, all petroleum activity, and the shares of PDVSA. OIEG I, at *9

(¶¶ 79-81); (Brauerman Ex. 14.) And Article 5 of the Organic Hydrocarbons Law requires

PDVSA’s revenues to be used to finance health and education, macroeconomic stabilization, and

investment within Venezuela. Crystallex II, 932 F.3d at 147.

       PDVSA has a “constitutionally prescribed role” of “‘manag[ing] the Venezuelan oil

industry.’” (Brauerman Ex. 16 at 31 (PDVSA brief).) The Maduro Regime possesses “the power

to intervene and mandate PDVSA’s economic policies,” which enables it to, for example, require

PDVSA to make investments unrelated to its oil business, such as in Venezuelan social programs.

Crystallex II, 932 F.3d at 146-47; OIEG I, at *14 (¶ 117); (Brauerman Ex. 38 (PDVSA webpage

discussing “social development projects”); Ex. 39 at 3 (PDVSA manages hospital facilities).)

                       b.     The Maduro Regime’s Oversight of PDVSA’s Business Decisions

       Venezuela continues to “dictat[e] to whom PDVSA must sell oil and at what price.”



                                                11
Case 1:23-mc-00361-UNA Document 4 Filed 08/02/23 Page 17 of 26 PageID #: 33




Crystallex II, 932 F.3d at 147. In July 2023, PDVSA increased the domestic price of diesel in the

industrial sector but maintained subsidies for the health sector in compliance with a resolution

from the Ministry of Petroleum. (Brauerman Ex. 40 (July 6, 2023 news article).) Maduro also

recently “instruct[ed]” PDVSA’s president to work with Vietnam’s state-owned oil company,

PetroVietnam. (Brauerman Ex. 41 (Mar. 14, 2023 PDVSA press release).) The Maduro Regime

continues to require PDVSA to supply oil to Venezuela’s foreign allies to fulfill Venezuela’s prior

commitments, even during a severe production crisis, underscoring “how ideological alliances are

being given priority over business.” (Brauerman Exs. 42, 43, 44 (news articles describing

PDVSA’s supply of oil to Cuba, Iran, and China in November 2022 and March 2023); Exs. 45, 46

(Venezuelan oil production plummeting).) Just last month, Venezuela shipped over 110,000

barrels of oil to Cuba on the Maria Cristina. (Brauerman Ex. 47 (vessel tracking data).)

               2.     PDVSA’s Profits in Venezuela Go to the Maduro Regime

       As this Court previously found, PDVSA’s profits go to Venezuela, its sole shareholder.

OIEG I, at *16 (¶ 141); Crystallex II, 932 F.3d at 148. The Maduro Regime routinely refers to

PDVSA, its assets, the PDVH shares, and CITGO as Venezuelan property – in December 2022,

Maduro tweeted that PDVSA is “of and for the people,” and claimed at a press conference that

“‘we are [CITGO’s] original owners; PDVSA owns CITGO and its dividends belong to our

country.’” (Brauerman Exs. 48, 49.) Maduro’s foreign affairs minister stated in May 2023 that

CITGO belongs to Venezuela and that a recent OFAC license allowing the National Assembly to

negotiate PDVSA’s debts is an attempt to “rob” Venezuela of CITGO. (Brauerman Ex. 50.)

               3.     The Maduro Regime Controls PDVSA’s Daily Affairs in Venezuela

       Venezuelan officials “maintain a strong presence in [PDVSA’s] daily affairs.” OIEG II,

at *10. Within Venezuela, PDVSA’s president, directors, vice presidents, and shareholder council

are all appointed by presidential decree. Crystallex II, 932 F.3d at 148; (see Brauerman Ex. 51


                                                12
Case 1:23-mc-00361-UNA Document 4 Filed 08/02/23 Page 18 of 26 PageID #: 34




(January 9, 2023 presidential decree appointing PDVSA board of directors).) Maduro routinely

appoints government officials, including military leaders, to fill high-level positions in PDVSA.

For decades, PDVSA’s president has also served as Venezuela’s oil minister. Crystallex II, 932

F.3d at 148. Pedro Tellechea, an army colonel who has been involved in Venezuela-owned

companies for years, has held both roles since March 21, 2023, and prior to Tellechea, Tareck El

Aissami, “a long-time lieutenant,” served as both External Director of PDVSA and Minister of

Petroleum. OIEG I, at *16 (¶ 147); (Brauerman Ex. 51 (Jan. 9, 2023 presidential decree); Ex. 52

(Mar. 23, 2023 PDVSA press release); see also Brauerman Ex. 5 ¶¶ 16-18.) Also in 2023, Erick

Jacinto Perez Rodriguez dual-hatted as Vice Minister of Petroleum and PDVSA’s Vice President

of Exploration and Production. (See Brauerman Ex. 51 (Jan. 9, 2023 presidential decree); Ex. 53

(Dec. 14, 2020 presidential decree); Ex. 54 (Perez LinkedIn profile).) And the Maduro Regime

has used a recent corruption crackdown as an opportunity to consolidate its power over PDVSA.

Brauerman Exs 5 ¶¶ 17-18; Ex. 55 (Apr. 27, 2023 Reuters article).)

       PDVSA is a conduit for Venezuelan domestic energy policy. It is “‘attached to’” and

“controlled by” Venezuela. (Brauerman Ex. 16 at 30 n.84 (PDVSA brief).) Its website admits

that it is “subordinate to the Venezuelan State,” that the Venezuelan people are “the true owner

of the oil,” and that the Ministry of Petroleum is “in charge of the national oil policy.” (Brauerman

Ex. 56 (emphasis added).) In April of this year, PDVSA tweeted that it executes Maduro’s

“monitoring and management policies” and in June, the Venezuelan Minister of Petroleum issued

a press release stating that PDVSA complies with Maduro’s “instructions and guidelines.”

(Brauerman Ex. 57 (PDVSA tweet); Ex. 58 (Ministry of Petroleum press release); see also

Brauerman Ex. 59 (Apr. 25, 2023 PDVSA press release discussing Maduro’s instructions); Ex. 60

(PDVSA press release stating that it is “complying with the guidelines set by President Nicolás




                                                 13
Case 1:23-mc-00361-UNA Document 4 Filed 08/02/23 Page 19 of 26 PageID #: 35




Maduro”).) For PDVSA, failing to meet its goals is tantamount to “fail[ing] Venezuela and . . .

Maduro.” (Brauerman Ex. 61 (May 9, 2023 PDVSA press release).) Maduro, on the other hand,

takes credit for PDVSA’s oil deals. For example, in December 2022, Maduro announced a deal

between PDVSA and Chevron in PDVSA’s Caracas office, referring to the deal as a “‘positive

step’” for Venezuela. (Brauerman Ex. 62 (news article).) PDVSA and Venezuela’s physical plant,

personnel, and legal strategies are inextricable, too. PDVSA and the Ministry of Petroleum

continue to share physical office space. (Crystallex II, 932 F.3d at 148; see also, e.g., (Brauerman

Ex. 63 (Mar. 23, 2023 PDVSA press release).) Tellechea publicly refers to PDVSA and Venezuela

as “‘a single work team . . . a single family.’” Id. And just this year, the National Constituent

Assembly authorized Venezuela’s Attorney General to exercise “control and supervision” over

PDVSA’s legal department. (Brauerman Ex. 64 § 10.)

               4.      The Maduro Regime Is the Beneficiary of PDVSA’s Conduct in Venezuela

       PDVSA continues to “exist[ ] to benefit Venezuela.” OIEG II, at *10. PDVSA’s website

states that one of its strategic objectives is to “‘[s]upport the geopolitical positioning of Venezuela

internationally.’” (Brauerman Ex. 56 at 2.) As this Court observed in OIEG I, Maduro uses

PDVSA’s property, particularly its oil, to support Venezuela’s foreign policy, including to satisfy

commitments made by Maduro, not PDVSA. (See supra at 11-12.) Maduro also recently vowed

to revive PetroCaribe, which requires PDVSA to supply oil to member states at steep discounts in

exchange for political clout and discounts on goods and services. Crystallex II, 932 F.3d at 147;

(Brauerman Ex. 65 (Oct. 8, 2022 Bloomberg article); Ex. 66 (June 29, 2022 Maduro tweet).)

       The Maduro Regime also spends PDVSA’s proceeds on public goods for Venezuelans.

PDVSA’s website states that it uses its “[o]il revenues . . . for health, food, investment, roads and

various funds” and administers social programs “in coordination with the social plans of

Venezuela.” (Brauerman Ex. 38; see also Ex. 5 ¶¶ 14, 17.) On May 2, 2023, Maduro announced


                                                  14
 Case 1:23-mc-00361-UNA Document 4 Filed 08/02/23 Page 20 of 26 PageID #: 36




on Twitter that he ordered PDVSA to donate drilling equipment to Venezuela’s National Fund for

Social Benefits. (Brauerman Ex. 67.) PDVSA also manages and administers various state

services, like hospitals. (See Brauerman Ex. 39.) These diversions of PDVSA assets and revenues

into “Venezuelan programs that have nothing to do with its business” demonstrate that Venezuela

is the real beneficiary of PDVSA’s conduct. Crystallex I, 333 F. Supp. 3d at 409; see Crystallex

II, 932 F.3d at 146-47.

               5.     The Maduro Regime Continues to Benefit in U.S. Courts While Avoiding
                      Its Obligations

       For the same reasons set forth above, maintaining separateness between the Maduro

Regime and PDVSA would entitle Venezuela to benefit from U.S. courts while avoiding its

obligations. (See supra at 10-11); OIEG I, at *17-18 (¶¶ 163-64).

                                         ARGUMENT

I.     THE FSIA PERMITS ATTACHMENT OF PDVSA’S PDVH SHARES

       To attach the PDVH shares, Pharo must show that the PDVH shares lack “attachment

immunity” from execution and that Venezuela lacks “jurisdictional immunity” from suit.

Crystallex I, 333 F. Supp. 3d at 394-95; 28 U.S.C. §§ 1604, 1610. Pharo satisfies both tests.

       A.      There Is No Attachment Immunity

       The FSIA permits court-ordered attachment of sovereign property in aid of execution of a

judgment where (1) the sovereign holds that property in the United States through an alter ego,

(2) the property is being used for a commercial activity, (3) the sovereign has waived its immunity

from attachment in aid of execution, and (4) a reasonable period of time has elapsed following the

entry of judgment. 28 U.S.C. § 1610(a), (a)(1), (c). These requirements are met here.

               1.     Venezuela Holds the PDVH Shares in the U.S. Through Its Alter Ego,
                      PDVSA

       PDVSA is the 100% owner of the PDVH shares, and those shares are located in Delaware.


                                                15
Case 1:23-mc-00361-UNA Document 4 Filed 08/02/23 Page 21 of 26 PageID #: 37




PDVSA’s shares in PDVH may be attached to satisfy Venezuela’s debt to Pharo because PDVSA

is Venezuela’s alter ego under the Bancec factors, as crystalized by the Supreme Court in Rubin v.

Islamic Republic of Iran, 138 S. Ct. 816 (2018):

       (1) the level of economic control by the government; (2) whether the entity’s profits go to
       the government; (3) the degree to which government officials manage the entity or
       otherwise have a hand in its daily affairs; (4) whether the government is the real beneficiary
       of the entity’s conduct; and (5) whether adherence to separate identities would entitle the
       foreign state to benefits in United States courts while avoiding its obligations. OIEG II,
       at *9.

       Following the Third Circuit’s decision in OIEG II, there is nothing left for the Venezuela

Parties to argue on the alter ego issue. They are collaterally and judicially estopped from

contesting their alter ego status before March 23, 2023. See United States ex rel. Doe v. Heart

Sol., PC, 923 F.3d 308, 316 (3d Cir. 2019); Crystallex Int’l Corp. v. Venezuela, No. 17 Misc. 151,

2021 WL 129803, at *11 (D. Del. Jan. 14, 2021). They actually litigated the issue as of March

2023 in Crystallex and OIEG, resulting in this Court and the Third Circuit actually, necessarily,

and finally deciding the issue against Venezuela in two detailed and reasoned decisions. (See

supra at 2-4). And the Venezuela Parties have conceded in recent briefing and stipulations in other

related cases that the OIEG decision “foreclose[s]” them from currently contesting the alter ego

status. (E.g., Tidewater Action, D.I. 53 at 3, D.I. 55.)

       In any event, the facts compel a present-day finding of alter ego. This Court has already

assessed most of the facts relevant to Pharo’s motion – Venezuela’s control of PDVSA in the six

years since Venezuela’s default on the debt held by Pharo – and correctly determined that they

support an alter ego finding. Venezuela’s conduct since this Court’s prior holdings, such as

passage of the 2023 Transition Statute, should receive less weight because Venezuela is aware that

its acts are under scrutiny. See OIEG II, at *9. But regardless, Venezuela and PDVSA’s recent

conduct confirms that PDVSA continues to be Venezuela’s alter ego.



                                                 16
Case 1:23-mc-00361-UNA Document 4 Filed 08/02/23 Page 22 of 26 PageID #: 38




       First, the National Assembly continues to treat PDVSA as its alter ego. It exercises

economic control over PDVSA outside of Venezuela through the Constitution, the 2023 Transition

Statute, the Asset Protection Council, and the PDVSA ad hoc Board. It continues to exercise

authority over PDVSA’s daily affairs through its oversight of PDVSA’s activities, finances, and

national interest contracts. It continues to assert authority over PDVSA’s assets and the assets of

its subsidiaries. And it continues to receive PDVSA’s profits outside Venezuela, pay for its legal

counsel using PDVSA funds, and use PDVSA as a tool to accomplish its political agenda of

ousting Maduro. (See supra at 4-11.)

       Second, the Maduro Regime also continues to treat PDVSA as its alter ego. It continues

to exercise economic control over PDVSA within Venezuela through the Constitution and

oversight of PDVSA’s oil pricing and supply decisions. It continues to exercise authority over

PDVSA’s daily affairs through appointments of government officials as directors and high-level

officers of PDVSA. And it continues to receive PDVSA’s profits within Venezuela, divert

PDVSA resources, and use PDVSA as a tool to execute its policies. (See supra at 11-15.)

               2.      The PDVH Shares Are Being Used for a Commercial Activity

       The phrase “commercial activity” in the FSIA captures the “distinction between state

sovereign acts, on the one hand, and state commercial and private acts, on the other.” Republic of

Argentina v. Weltover, Inc., 504 U.S. 607, 613 (1992). In OIEG I, this Court correctly held that

the PDVH stock is being used for a commercial activity because “‘Venezuela – through PDVSA

– uses the shares to appoint directors, approve contracts, and pledge assets as security for PDVSA’s

debt.’” OIEG I, at *18 (quoting Crystallex I, 333 F. Supp. 3d at 417-18). And for the reasons

discussed above, PDVSA and Venezuela are collaterally estopped from relitigating that holding.

               3.      Venezuela Has Waived Attachment Immunity

       Venezuela “irrevocably agree[d] not to claim and irrevocably waive[d]” immunity from


                                                17
    Case 1:23-mc-00361-UNA Document 4 Filed 08/02/23 Page 23 of 26 PageID #: 39




attachment in aid of execution in any “Related Proceeding” in the fiscal agency agreements under

which Pharo’s bonds were issued. (See Brauerman Ex. 70 § 14(d); Ex. 71 § 14(d); Ex. 72 § 14(d).)

The “Related Proceeding[s]” for which Venezuela waived immunity include “any suit, action or

proceeding against [Venezuela] or its properties, assets or revenues with respect to this

Agreement.” (Id. § 14(a).) That waiver is attributable to PDVSA as Venezuela’s alter ego.

Crystallex II, 932 F. 3d at 139; Crystallex I, 333 F. Supp. 3d at 415.

                4.      A Reasonable Amount of Time Has Passed Since Entry of Pharo’s
                        Judgments

         PDVSA and Venezuela cannot deny that “a reasonable period of time has elapsed

following the entry of judgment.” 28 U.S.C. § 1610(c). Pharo’s Final Judgment was entered in

October 2020, and in May 2021 the rendering court held a reasonable amount of time had passed

such that Pharo could enforce its judgment. (Id., D.I. 74; see 28 U.S.C. § 1610(c)). Pharo’s Default

Judgment has been outstanding for over 21 months and was served on Venezuela more than 2

months ago. Courts have repeatedly held that shorter intervals are “reasonable” under § 1610(c).4

Here, Venezuela has had ample time to pay Pharo’s judgments but has chosen to default.

         B.     There Is No Jurisdictional Immunity

         Under the FSIA, foreign states can waive their immunity from suit. 28 U.S.C. § 1605(a)(1).

Here, Venezuela litigated its immunity (and lost) in one suit and refused to appear in another

action, resulting in a default judgment being entered against it. Once a party establishes an


4
 See, e.g., Elliott Assocs., L.P. v. Banco De La Nacion, No. 96-cv-7916-RWS, 2000 WL 1449862,
at *4 (S.D.N.Y. Sept. 29, 2000) (ten days); Richmark Corp. v. Timber Falling Consultants, Inc.,
No. CIV. 88-1203-FR, 1990 WL 84598, at *2 (D. Or. May 31, 1990) (30 days); Ned Chartering
& Trading, Inc. v. Rep. of Pakistan, 130 F. Supp. 2d 64, 67 (D.D.C. 2001) (six weeks); Karaha
Bodas Co. v. Perusahaan Pertambangan Minyak Dan Gas Bumi Negara, No. 01-cv-0634, 2002
WL 32107929, at *2 (S.D. Tex. Jan. 25, 2002) (seven weeks); Crystallex Int’l Corp. v. Venezuela,
No. 16-CV-661, 2017 WL 6349729, at *1 (D.D.C. June 9, 2017) (60 days in part due to
Venezuela’s “failure to assert that it is attempting to pay the judgment or provide any evidence of
such efforts”); Gadsby & Hannah, 698 F. Supp. 483, at 486 (S.D.N.Y. 1988) (two months).


                                                 18
Case 1:23-mc-00361-UNA Document 4 Filed 08/02/23 Page 24 of 26 PageID #: 40




exception to sovereign immunity and obtains a merits judgment, it need not establish another

exception to register the judgment in another court and enforce it. Crystallex II, 932 F.3d at 137.

II.    DELAWARE LAW PERMITS ATTACHMENT OF PDVSA’S PDVH SHARES

       Rule 69 permits enforcement of a money judgment in accordance with “the procedure of

the state where the court is located.” Fed. R. Civ. P. 69(a)(1). Delaware law entitles a judgment

creditor to attach a debtor’s shares in a Delaware corporation through a writ of attachment fieri

facias. 8 Del. C. § 324(a); Crystallex II, 932 F.3d at 134.

       PDVSA is the sole owner of the shares of PDVH, a Delaware corporation. OIEG I, at *1,

*3; see also Crystallex Int’l Corp. v. Venezuela, No. 17 Misc. 151 (D. Del.), D.I. 177 (answer by

PDVH). By law, those shares are located in Delaware because PDVH is incorporated in Delaware.

8 Del. C. § 169; see Crystallex Int’l Corp. v. Petróleos De Venezuela, S.A., 251 F. Supp. 3d 758,

762 (D. Del. 2017). Accordingly, a judgment creditor may attach the PDVH shares to satisfy its

judgments. See 10 Del. C. § 5031; 8 Del. C. § 324(a); see also OIEG I, at *29 (Delaware law

permits attachment of the PDVH shares).

       The Venezuela Parties have argued that the relevant test is Delaware’s alter ego test, which

they claim requires a showing of fraud or injustice. But this Court and the Third Circuit have

already rejected that argument. OIEG I, at *29 (citing Crystallex I, 333 F. Supp. 3d at 397 and

Crystallex II, 932 F.3d at 145). Venezuela should not get yet another bite at the apple, and it is

collaterally estopped from relitigating the issue again here.

       Venezuela is also wrong on the merits on several independent grounds. Federal execution

proceedings must follow “the procedure of the state where the court is located, but a federal statute

governs to the extent it applies.” Fed. R. Civ. P. 69(a)(1). Because the standard for alter ego

liability is substantive, not procedural, Delaware’s rule does not govern.         See Meadows v.

Dominican Republic, 817 F.2d 517, 524 (9th Cir. 1987) (“[I]dentity for purposes of attribution of


                                                 19
Case 1:23-mc-00361-UNA Document 4 Filed 08/02/23 Page 25 of 26 PageID #: 41




liability among instrumentalities of a foreign state is a matter of substantive law.”). Even if it were

procedural, Delaware’s rule would be displaced by the Bancec doctrine – the FSIA’s “federal

common-law outgrowth” – which “exists specifically to enable federal courts . . . to disregard the

corporate separateness of foreign sovereigns.” Crystallex II, 932 F.3d at 139.

       Moreover, even assuming Delaware’s veil-piercing rule applied, an alter ego showing is a

separate basis for veil piercing from fraud or injustice. See also O’Leary v. Telecom Res. Serv.,

LLC, 2011 WL 379300, at *7 (Del. Ch. 2011). And even if fraud or injustice were the applicable

Delaware standard, it would be manifestly unjust to allow Venezuela to use its alter ego PDVSA

to access U.S. markets and their accompanying legal protections while evading U.S. creditors.

III.   THE COURT SHOULD ISSUE A WRIT AND NAME PLAINTIFFS ADDITIONAL JUDGMENT
       CREDITORS

       This Court recently ruled that “a creditor wishing to be made an Additional Judgment

Creditor under the SPO must obtain at least a conditional writ of attachment by the Step 5 (Writ)

Deadline, a date which will be determined by the Court after further consultation.” Crystallex Int’l

Corp. v. Venezuela, No. 17 Misc. 151 (D. Del.), D.I. 646. If the Court holds that PDVSA is

Venezuela’s alter ego, then Pharo has a right to attach PDVSA’s assets to satisfy its judgments

against Venezuela. The Court should grant Plaintiffs a writ of attachment by the Step 5 (Writ)

Deadline and name Plaintiffs Additional Judgment Creditors so they may serve their writ and

participate in the Sale Process.

                                          CONCLUSION

       The Court should (1) find that a reasonable period of time has elapsed pursuant to 28 U.S.C.

§1610(c), (2) hold that the PDVH shares are subject to attachment to satisfy Pharo’s judgments;

(3) authorize the issuance of a writ of attachment by the Step 5 (Writ) Deadline, and (4) name

Plaintiffs Additional Judgment Creditors.



                                                  20
Case 1:23-mc-00361-UNA Document 4 Filed 08/02/23 Page 26 of 26 PageID #: 42




                                      BAYARD, P.A.

                                      /s/ Stephen B. Brauerman
                                      Stephen B. Brauerman (#4952)
                                      Sarah T. Andrade (#6157)
                                      600 N. King Street, Suite 400
                                      Wilmington, Delaware 19801
                                      (302) 655-5000
                                      SBrauerman@bayardlaw.com
                                      sandrade@bayardlaw.com

                                      Counsel for Plaintiffs
Dated: August 2, 2023




                                    21
